       Case
2/15/2021        0:21-cv-60385-AHS Document 1-2
                                         Case DetailEntered      on FLSD
                                                    - Public - Broward County Docket     02/18/2021 Page 1 of 24
                                                                              Clerk of Courts


   Sameer Farooq Plaintiff vs. Healthcare Revenue Recovery Group LLC Defendant


       Broward County Case Number: CACE21001170
       State Reporting Number: 062021CA001170AXXXCE
       Court Type: Civil
       Case Type: Other
       Incident Date: N/A
       Filing Date: 01/19/2021
       Court Location: Central Courthouse
       Case Status: Pending
       Magistrate Id / Name: N/A
       Judge ID / Name: 21 Singer, Michele Towbin




                                                                                                                      Total: 2
     −     Party(ies)


         Party                                                                     Attorneys / Address
         Type           Party Name                                  Address          Denotes Lead Attorney

         Plaintiff      Farooq, Sameer                                                         Hindi, Jibrael S
                                                                                                 Retained
                                                                                               Bar ID: 118259
                                                                                     Attn: The Law Offices of Jibrael S
                                                                                                   Hindi
                                                                                               110 SE 6th ST
                                                                                                 STE 1744
                                                                                         Fort Lauderdale, FL 33301
                                                                                              Status: Active

                                                                                              Patti, Thomas J
                                                                                                 Retained
                                                                                               Bar ID: 118377
                                                                                     The Law Offices of Jibrael S. Hindi
                                                                                        110 SE 6th Street, Ste. 1744
                                                                                         Fort Lauderdale, FL 33301
                                                                                              Status: Active



         Defendant      Healthcare Revenue Recovery Group
                        LLC




                                                                                                                      Total: 0
     −     Disposition(s)



https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTEwNzc0MDM%3d-fGKBkJFy7i8%3d&caseNum=CACE21001170&categ…     1/2
       Case
2/15/2021       0:21-cv-60385-AHS Document 1-2
                                        Case DetailEntered      on FLSD
                                                   - Public - Broward County Docket     02/18/2021 Page 2 of 24
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         Date                         Statistical Closure(s)


         Date                Disposition(s)                              View                 Page(s)




                                                                                                                       Total: 4
     −    Event(s) & Document(s)



         Date          Description                                       Additional Text                  View    Pages

         01/20/2021    Search for prior case performed per 2020-4-
                       Civ-UFC-CO
                                                                         None
                                                                                                                 1



         01/19/2021    Civil Cover Sheet
                                                                                                                 3

                                                                         Amount: $30,001.00

         01/19/2021    eSummons Issuance                                 HEALTHCARE REVENUE
                                                                         RECOVERY GROUP LLC,
                                                                                                                 2

                                                                         d/b/a ARS ACCOUNT
                                                                         RESOLUTION SERVICES

         01/19/2021    Complaint (eFiled)
                                                                                                                 16




                                                                                                                       Total: 0
     −    Hearing(s)

     There is no Disposition information available for this case.



                                                                                                                       Total: 0
     −    Related Case(s)

     There is no related case information available for this case.




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTEwNzc0MDM%3d-fGKBkJFy7i8%3d&caseNum=CACE21001170&categ…      2/2
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